        Case 1:24-cv-12582-AK         Document 45       Filed 04/04/25     Page 1 of 5




                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
____________________________________
                                      )
DARRELL HUBBARD,                      )
                                      )
              Plaintiff,              )
                                      )
                                      )    Civil Action No. 24-CV-12582-AK
v.                                    )
                                      )
ALKU, LLC,                            )
L.A. Care Health Plan                 )
                                      )
              Defendants.             )
                                      )

   MEMORANDUM AND ORDER ON DEFENDANT ALKU, LLC’S MOTION TO
 DISMISS, PLAINTIFF HUBBARD’S MOTION TO DENY DEFENDANT’S MOTION
TO DISMISS, ALKU’S MOTION TO STRIKE, AND HUBBARD’S REQUEST TO DENY
                   DEFENDANT’S MOTION TO STRIKE

A. KELLEY, D.J.

       Plaintiff Darrell Hubbard filed this action against Defendants ALKU, LLC (“ALKU”)

and L.A. Care Health Plan, alleging breach of contract and unenforceable contractual provisions

governing Hubbard’s work for L.A. Care Health Plan. ALKU has moved to dismiss all of the

claims. For the following reasons, Defendant ALKU’s Motion to Dismiss [Dkt. 22] is

GRANTED IN PART and DENIED IN PART, while Hubbard’s Motion to Deny Defendant’s

Motion to Dismiss [Dkt. 27], ALKU’s Motion to Strike [Dkt. 34], and Hubbard’s Request to

Deny Defendant’s Motion to Strike [Dkt. 38] are DENIED AS MOOT.

I.     Arbitration Proceedings

       As brief background, prior to commencing the suit before this Court, Hubbard attempted

to enjoin arbitration—as required by the agreement signed by both parties—in Massachusetts

Superior Court. Vertron Corporation et al. vs. ALKU, LLC. et al., 2484-CV-01983 (Mass.




                                               1
         Case 1:24-cv-12582-AK           Document 45         Filed 04/04/25      Page 2 of 5




Super. Ct. 2024). The superior court issued an order compelling arbitration and staying the state

action. Id. [Dkt. 19]. Following the return to arbitration, Hubbard refused to pay his portion of

the arbitration fees and engaged in concerning strategies, and the proceeding was dismissed.

Hubbard subsequently filed suit in this Court and ALKU filed the instant Motion to Dismiss.

        Several courts have previously allowed cases to move forward, despite orders compelling

arbitration, when parties show that they are unable to pay their share of the arbitration fees and

have made a good faith effort to participate in arbitration. See generally Tillman v. Tillman, 825

F.3d 1069 (9th Cir. 2016) (“Our decision that Tillman’s case may proceed does not mean that

parties may refuse to arbitrate by choosing not to pay for arbitration . . . . Here, [] the district

court found that Tillman had exhausted her funds and was ‘unable to pay for her share of

arbitration.’”); Dobbins v. Hawk’s Enters., 198 F.3d 715, 716 (8th Cir. 1999) (“[T]he district

court held an evidentiary hearing to provide the [plaintiffs] the opportunity to present evidence

on their financial condition and inability to pay the arbitration fees. Following the evidentiary

hearing, the district court lifted the stay, reopened the case, and found that the arbitration fees

precluded the [plaintiffs] from availing themselves of the arbitral forum.”); Weiler v. Marcus &

Millichap Real Estate Inv. Servs., Inc., 22 Cal. App. 5th 970, 981 (2018) (“[W]hen a party who

has engaged in arbitration in good faith is unable to afford to continue in such a forum, that party

may seek relief from the superior court.”).

        Important to the determination, however, is a showing that the party attempting to litigate

in court must show that non-payment of arbitration fees was not the result of “‘failure, neglect, or

refusal’ to arbitrate.” CellInfo, LLC v. Am. Tower Corp., 506 F. Supp. 3d 61, 71 (D. Mass.

2020) (quoting 9 U.S.C. § 4.1). “[O]nly upon a satisfactory showing that the non-paying party

acted in good faith and under a genuine indigency—inadvertently causing the premature




                                                   2
        Case 1:24-cv-12582-AK           Document 45        Filed 04/04/25      Page 3 of 5




termination of the arbitration proceedings—would lifting a stay and adjudicating in court be

appropriate.” Id. at 67. To make a satisfactory showing of indigency, a party must do more than

show “empty pockets.” Id. “Rather, it must show that it diligently arbitrated, that it sought

alternative funds but failed, that it attempted to adjust payment, get a discount or delay from the

AAA, that it did not drag foot without action, that it made reasonable efforts to arbitrate in good

faith.” Id.; see also Pre-Paid Legal Servs., Inc. v. Cahill, 786 F.3d 1287, 1294 (10th Cir. 2015)

(“In the arbitration proceeding, Mr. Cahill did not show he was unable to afford payment, ask the

arbitrators to modify his payment schedule, or move for an order requiring Pre-Paid to pay his

share for him so that arbitration could continue. Instead, by refusing multiple requests to pay, he

allowed arbitration to terminate.”).

       In the instant matter, Hubbard has yet to make a showing of indigency and the factual

allegations regarding Hubbard’s behavior during the arbitration proceedings seem to imply bad

faith. Absent more evidence to the contrary, this Court refuses to reward such behavior. In light

of the above, this Court ORDERS Hubbard to submit, within thirty (30) days from the date of

this order, evidence that in failing to pay the arbitration fees, Hubbard both acted with good faith

throughout the arbitration proceedings and is experiencing genuine indigency, showing more

than “empty pockets,” as described above. ALKU shall then have fourteen (14) days to respond

to Hubbard’s filing, if it so wishes. No additional subsequent reply or sur-reply will be

considered.

II.    The Complaint

       As a second matter, despite the fact that complaints brought by pro se litigants, as in this

action, are subjected to a lesser scrutiny than that of complaints drafted by attorneys, Ferranti v.

Moran, 618 F.2d 888, 890 (1st Cir. 1980), Hubbard’s Complaint is still insufficiently pled.




                                                 3
        Case 1:24-cv-12582-AK           Document 45         Filed 04/04/25     Page 4 of 5




While pro se litigants are afforded more latitude in this realm, this latitude “cannot be taken to

mean that pro se complaints are held to no standard at all.” Sergentakis v. Channell, 272 F.

Supp. 3d 221, 224-25 (D. Mass. 2017) (internal quotation marks and citation omitted). In other

words, “pro se status does not insulate a party from complying with procedural and substantive

law.” Ahmed v. Rosenblatt, 118 F.3d 886, 890 (1st Cir. 1997). “A district court has the power

to dismiss a complaint when a plaintiff fails to comply with the Federal Rules of Civil

Procedure.” Kuehl v. F.D.I.C., 8 F.3d 905, 908 (1st Cir. 1993).

       This Court agrees with ALKU that Hubbard’s 71-page Complaint, along with the 168

pages of annotated Exhibits, violate Fed. R. Civ. P. 8(a)(2)’s requirement of a “short and plain

statement,” as well as Fed. R. Civ. P. 10(b)’s demand that “[a] party must state its claims or

defenses in numbered paragraphs, each limited as far as practicable to a single set of

circumstances.” Thus, this Court ORDERS Hubbard to file a proposed amended complaint as

an exhibit to the above filing that complies with all Federal Rules of Civil Procedure.

       Failure to comply with both of the above orders within the thirty (30) day deadline shall

result in a final order of dismissal with prejudice of the instant matter.

III.   CONCLUSION

       For the foregoing reasons, ALKU’s Motion to Dismiss [Dkt. 22] is GRANTED IN

PART and DENIED IN PART, in line with above orders. Hubbard’s Motion to Deny

Defendant’s Motion to Dismiss [Dkt. 27], ALKU’s Motion to Strike [Dkt. 34], and Hubbard’s

Request to Deny Defendant’s Motion to Strike [Dkt. 38] are DENIED AS MOOT.

       As described above, Hubbard is ORDERED to submit, within thirty (30) days from the

date of this order, evidence that in failing to pay the arbitration fees, Hubbard both acted with

good faith throughout the arbitration proceedings and is experiencing genuine indigency. Along




                                                  4
        Case 1:24-cv-12582-AK          Document 45        Filed 04/04/25      Page 5 of 5




with that filing, Hubbard is ORDERED to file a proposed amended complaint as an exhibit.

Failure to comply with both of these orders within the thirty (30) day deadline shall result in a

final order of DISMISSAL WITH PREJUDICE of the instant matter.

       SO ORDERED.

Dated: April 4, 2025                                         /s/ Angel Kelley
                                                             Hon. Angel Kelley
                                                             United States District Judge




                                                 5
